Case 2:14-cr-00165-RAJ   Document 268   Filed 05/13/16   Page 1 of 6
Case 2:14-cr-00165-RAJ   Document 268   Filed 05/13/16   Page 2 of 6
Case 2:14-cr-00165-RAJ   Document 268   Filed 05/13/16   Page 3 of 6
Case 2:14-cr-00165-RAJ   Document 268   Filed 05/13/16   Page 4 of 6
Case 2:14-cr-00165-RAJ   Document 268   Filed 05/13/16   Page 5 of 6
Case 2:14-cr-00165-RAJ   Document 268   Filed 05/13/16   Page 6 of 6
